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                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                  CINCINNATI DIVISION

  In Re:                                          Case No. 1:15-bk-14312

  Taryn L. Parsons                                Chapter 13

  Debtor.                                         Judge Jeffery P. Hopkins

                                  CERTIFICATE OF SERVICE

 I certify that a copy of the foregoing Response to Notice of Final Cure Payment was served
 electronically on September 5, 2019 through the Court’s ECF System on all ECF participants
 registered in this case at the e-mail address registered with the Court

 And by ordinary U.S. Mail on September 5, 2019 addressed to:

           Taryn L. Parsons, Debtor
           3460 Jessup Road
           Cincinnati, OH 45239

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
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